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                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                       LAREDO DIVISION




UNITED STATES OF AMERICA                             §

                VS                                   §        CRIMINAL NO. L-05-2630

EDUARDO JAVIER GARZA                                 §



                        REPORT AND RECOMMENDATION
                   OF THE UNITED STATES MAGISTRATE JUDGE


        The Magistrate Court submits this Report and Recommendation to the District Court pursuant to 28

U.S.C. § 636(b)(3). This case has been referred, by order of the District Court, to the United States

Magistrate Judge for the taking of a felony guilty plea and the Federal Rule of Criminal Procedure Rule 11

Allocution. All parties executed a waiver of the right to plead guilty before a United States District Judge

as well as a consent to proceed before a United States Magistrate Judge.

        On January 18, 2006, the defendant and counsel appeared before the Magistrate Judge, who

addressed the defendant personally in open court and informed the defendant of the admonishments under

Rule 11 of the Federal Rules of criminal Procedure and determined that the defendant was competent to plead

guilty and fully understood said admonishments.

        The defendant agreed to plead guilty to Count 1 of the indictment (violation of Title 8, United

States Code, Section 1324 and Title 18, United States Code, Section 2). The government summarized

the written plea agreement in the presence of the defendant and his attorney. The Court explained to

the defendant that he would be subject to sentencing pursuant to the Sentencing Guidelines promulgated by

the United States Sentencing Commission. The Court also explained that parole had been abolished and that

the defendant could receive a term of supervised release. The Court explained the range of punishment with
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regard to imprisonment, fines, restitution, supervised release, and the statutory fee assessment pursuant to the

Victim of Crime Act.

        The Magistrate Judge finds the following:

        1.       The defendant, with the advice of his attorney, has consented orally and in writing to enter

                 this guilty plea before the Magistrate Judge, subject to final approval and sentencing by the

                 District Judge;

        2.       The defendant fully understands the nature of the charges and penalties;

        3.       The defendant understands his constitutional and statutory rights and wishes to waive these

                 rights;

        4.       The defendant’s plea is made freely and voluntarily;

        5.       The defendant is competent to enter this plea of guilty; and

        6.       There is an adequate factual basis for this plea.



                                              Recommendation

                 The Magistrate Court RECOMMENDS that the District Court accept the plea of guilty and,

after reviewing the pre-sentence investigation report, enter final judgment of guilty against the defendant.



                                                  Warnings

        The parties may file objections to this Report and Recommendation. A party filing objections must

specifically identify those findings or recommendations to which objections are being made. The District

Court need not consider frivolous, conclusive, or general objections. Battle v. United States Parole Comm’n,

834 F.2d 419 (5th Cir. 1987).

        A party’s failure to file written objections to the proposed findings and recommendations contained

within this Report within ten (10) days after being served with a copy of the Report shall bar that party from

de novo review by the District Court of the proposed findings and recommendations and, except upon
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grounds of plain error, shall bar the party from appellate review of proposed factual findings and legal

conclusions accepted by the District Court to which no objections were filed. See 28 U.S.C. § 636(b)(1)(C);

Thomas v. Arn, 474 U.S. 140, 150-153, 106 S.Ct. 466, 472-74 (1985); Douglas v. United States’ Automobile

Ass’n, 79 F.3d 1415, 1428-29 (5th Cir. en banc 1996).

        The Clerk is directed to send a copy of this Report and Recommendation to all parties.

        DONE at Laredo, Texas, this 18th day of January, 2006.




                                                             Felix Recio
                                                   United States Magistrate Judge
